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August 29, 2008

Ms. Sharon Wiley, Deputy Clerk
United States Court of Appeals

for the Fourth Circuit
501 United States Court House Annex
1100 East Main Street
Richmond, VA 23219-3517

RE: United States v. Paulette Martin, et al.
4" Circuit No. 07-4060 (L)

Dear Ms. Wiley:

I submit this letter, in my role as lead counsel, as the status report requested by the
Court per its Order of August 14, 2008.

I have contacted via email ali counsel for the Co-Appellants, listed below, using
the email address listed on the Court’s docket notices. Certain of counsel have contacted me in
response, to advise me of the status relative to their respective clients. I am able to advise the
Court of the following, based upon the information provided to me.

Appellant Paulette Martin (Michael Montemarano, Esq.,): Transcripts have been ordered
for the following dates, but have not yet been received: March 28, 2005 (motions hearing); June
10, June 11, July 18, August 8, August 10, August 30, 2006 (trial); December 19, 2006
(sentencing). Eight days total.

Appellant Learley Goodwin (Anthony Martin, Esq.): I am advised that transcripts have
been ordered for the following dates, but have not yet been received:: July 18, 2006; August 8,
2006. Two days total.

Appellant Reece Whiting (Marc Hall, Esq.): I am advised that all transcripts that have
been ordered have been received. ,

Appellant Lavon Dobie (Alan DuBois, Esq.): I am advised that transcripts have been
ordered, and have not yet been received, for the opening arguments on June 13, 2006. One day
total.
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Appellant Derrick Bynum (Timothy Mitchell, Esq.): I have not heard from counsel.

Appellant Lanora Ali (Alan Dexter Bowman, Esq.): I was advised via letter dated May
20, 2008, that the transcripts had not been received for the following dates: June 22, 2006,
August 1, August 29, 2006, in addition to the eight dates missing from the list compiled by
undersigned counsel, and set forth, supra. Eleven days total. I do not have any more recent
information from counsel.

In all cases, I assume that reference to missing transcripts means that all of the
others that have been ordered by the particular Co-Appellants have indeed been received. I have
offered, pursuant to my role as lead counsel, to provide copies of those transcripts in my
possession to appointed counsel who are missing specific dates, but no requests have been made
regarding this offer. If directed to do so by the Court, I will extend this offer to retained counsel
as well. No transcripts have been received by this office in many months.

Very truly yours,

Michael D. Montemarano

MDM/ap

CC: all listed counsel, via email
